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16                                 UNITED STATES DISTRICT COURT
17                              CENTRAL DISTRICT OF CALIFORNIA
18
       IN RE: NATIONAL FOOTBALL                       Case No. 2:15-ml-02668−PSG (SKx)
19     LEAGUE’S “SUNDAY TICKET”                       DEFENDANTS’ REPLY IN
20
       ANTITRUST LITIGATION                           SUPPORT OF MOTION IN
       ______________________________                 LIMINE NO. 7 TO EXCLUDE
21                                                    CERTAIN TESTIMONY FROM
                                                      EINER ELHAUGE
22     THIS DOCUMENT RELATES TO:
       ALL ACTIONS                                    Judge: Hon. Philip S. Gutierrez
23                                                    Date: May 17, 2024
24
                                                      Time: 2:30 p.m.
                                                      Courtroom: First Street Courthouse
25                                                               350 West 1st Street
26                                                               Courtroom 6A
                                                                 Los Angeles, CA 90012
27

28
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 1           Plaintiffs admit the core basis for NFL Defendants’ Motion in Limine No. 7,
 2   ECF No. 1128-1 (“Mot.”), that Mr. Elhauge “may testify about economics but not
 3   about law.” ECF No. 1178-1, Pls.’ Mem. Opp. Defs.’ Mot. in Limine No. 7 (“Opp.”)
 4   at 4 (emphasis added). The Court accordingly should grant Defendants’ motion to
 5   preclude Mr. Elhauge from offering legal testimony or opinions that would mislead
 6   the jury regarding the law.
 7           The remainder of Plaintiffs’ opposition disputes whether Mr. Elhauge is
 8   offering legal opinions, but their focus on whether certain of his opinions are reliable
 9   applications of economic principles misses the mark. Reliable or not, Mr. Elhauge’s
10   legal opinions are not admissible, including his assertions that
11

12   that the SBA                                                                              or that the
13

14                                                                                             . ECF No.
15   962-29, Expert Rebuttal Report of Einer Elhauge, dated June 9, 2023 (“Elhauge
16   Rep.”) ¶¶ 16, 21, 26, 44. He also should not be permitted to offer the criticism that
17   Dr. Bernheim has purportedly failed to
18

19   id. ¶ 14, as the relevant legal standards include no such requirements.
20   I.      Plaintiffs Failed To Demonstrate That Mr. Elhauge’s Testimony Will Not
21           Include Improper Legal Opinions.

22           Plaintiffs concede that expert testimony that “discuss[es] the law and its
23   application” is properly stricken under Rule 702 because such evidence is unhelpful
24   to the jury. Opp. at 13 (quoting Nationwide Transp. Fin. v. Cass Info. Sys., Inc., 523
25   F.3d 1051, 1056 (9th Cir. 2008)). They contend, however, that Mr. Elhauge offers
26   only economic opinions. This motion does not challenge his economic analysis, but
27   Plaintiffs fail to demonstrate that Mr. Elhauge’s testimony will not invade the
28   province of the trial court by attempting to explain the law to the jury.
                                                 1
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 1              Plaintiffs first attempt to defend Mr. Elhauge’s opinions about the “initial
 2   allocation of property rights to game broadcasts”—opinions that on their face address
 3   questions of law. While Plaintiffs claim that Mr. Elhauge “did not base his analysis
 4   on case law or other legal sources,” Opp. at 5, his report tells a different story. There,
 5   Mr. Elhauge explains that his opinions regarding                                                        derive
 6   from
 7

 8

 9                                          ECF No. 962-29, Elhauge Rep. ¶ 20. That explanation
10   forecloses any defense of Mr. Elhauge’s testimony on this subject.
11              In contrast to Mr. Elhauge’s legal opinion, Dr. Bernheim appropriately
12   analyzed the economic question of                                                                        . ECF
13   No. 962-10, Expert Report of B. Douglas Bernheim, dated April 28, 2023
14   (“Bernheim Rep.”) ¶¶ 244–250. That is a natural topic for economic testimony, and
15   it was inappropriate for Mr. Elhauge to respond to those economic opinions by
16   asserting, incorrectly, that legal rules of property assignment preempt the question of
17   how economic value is created. See ECF No. 962-29, Elhauge Rep. ¶¶ 20–22.1
18              Plaintiffs next assert that Mr. Elhauge “merely articulates his understanding of
19   the SBA’s scope,” Opp. at 5, but his report also includes opinions purporting to apply
20   that law to the facts of this case. After purporting to summarize                                                  ,
21   ECF No. 962-29, Elhauge Rep. ¶ 21, Mr. Elhauge goes on to opine that
22

23                      id. It would be plainly inappropriate to permit a law professor to offer
24
     1
       To the extent Plaintiffs’ arguments can be interpreted as complaints that Dr.
25   Bernheim purportedly offered improper legal opinions, see, e.g., Opp. at 4, 8, any
     such complaint is not before the Court. Plaintiffs did not move to exclude any of Dr.
26   Bernheim’s opinions, and in any event an opposition to Defendants’ motion in limine
     to exclude certain testimony by Mr. Elhauge is not the proper vehicle for such a
27   challenge. That Defendants do not respond to these untimely critiques of Dr.
28   Bernheim’s opinions is not, and should not be construed as, an admission or
     concession that Plaintiffs are correct (and they are not).
                                                         2
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 1   opinions regarding whether
 2                                       as “instructing the jury as to the applicable law is the distinct
 3   and exclusive province of the court.” See Hangarter v. Provident Life & Accident
 4   Ins. Co., 373 F.3d 998, 1016 (9th Cir. 2004) (citation and quotation marks omitted).
 5           Similarly, Plaintiffs’ defense of Mr. Elhauge’s opinions regarding
 6                                                                                                             . While
 7   Mr. Elhauge purports to frame his analysis                                                       he asserts that
 8

 9                                                                                    and he ultimately opines
10   that
11                                                                 ECF No. 962-29, Elhauge Rep. ¶ 24.
12   These opinions again are indisputably legal in nature.
13           Mr. Elhauge also offers opinions regarding the but-for world that
14   impermissibly rely on his views on the legal question of the scope of Plaintiffs’
15   claims. First, he opines that revenue sharing should be removed from the but-for
16   world because Plaintiffs have not
17   Id. ¶ 26. That opinion addresses the legal issue pending in Defendant’s motion in
18   limine No. 1 regarding the scope of Plaintiffs’ claims, see ECF No. 1105-1, and
19   Mr. Elhauge should not be permitted to offer legal opinions on the alleged scope of
20   Plaintiffs’ claims to the jury. Similarly, he asserts
21                                                                         , ECF No. 962-29, Elhauge Rep.
22   ¶ 44, even though Plaintiffs have never challenged the competitive effects of such
23   clauses. That opinion likewise reflects an inappropriate attempt to rely on his status
24   as a law professor to opine to the jury on the purported legal implications of his
25   interpretation of the scope of Plaintiffs’ claims.
26           Plaintiffs’ remaining arguments fail to justify Mr. Elhauge’s legal opinions. At
27   points in his deposition, Mr. Elhauge certainly disclaimed an intent to opine on the
28   law, see Opp. at 4 & n.2, but those stock answers do nothing to justify the instances
                                                             3
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 1   in which Mr. Elhauge offered such legal opinions despite his self-serving
 2   proclamations that he was not doing so. Plaintiffs also insist that Mr. Elhauge’s legal
 3   assertions merely respond to Dr. Bernheim. But absent special circumstances not
 4   applicable here (such as when the content of the law of a foreign country is at issue),
 5   testimony about the law––especially about a question of U.S. law on which the
 6   federal courts are the ultimate authority––is precluded. See In re Initial Pub. Offering
 7   Sec. Litig., 174 F. Supp. 2d 61, 64–65 (S.D.N.Y. 2001) (“[E]very circuit has
 8   explicitly held that experts may not invade the court’s province by testifying on issues
 9   of law.” (collecting cases)).
10              Finally, Plaintiffs imply—in a page-long footnote—that courts have permitted
11   Mr. Elhauge to offer the type of legal opinions that he offers here. But to the contrary,
12   courts have consistently rejected Mr. Elhauge’s attempts to infect a jury with his legal
13   opinions. In United Food & Commercial Workers Local 1776 & Participating
14   Employers Health & Welfare Fund v. Teikoku Pharma USA, for example, the court
15   excluded testimony by Mr. Elhauge that would “impinge[] on a determination left up
16   to the jury.” 296 F. Supp. 3d 1142, 1188 (N.D. Cal. 2017). The other courts to
17   consider this issue have reached the same conclusion. See Sitts v. Dairy Farmers of
18   Am., Inc., 2020 WL 3467993, at *5 (D. Vt. June 24, 2020); In re Namenda Direct
19   Purchaser Antitrust Litig., 331 F. Supp. 3d 152, 174 (S.D.N.Y. 2018) (excluding
20   proffered testimony by Mr. Elhauge that would “improperly attempt to usurp the role
21   of the jury” (citing United Food, 296 F. Supp. 3d at 1188)). And where courts have
22   admitted Mr. Elhauge’s testimony, it has been limited to “opinions based in economic
23   knowledge and training.” In re Broiler Chicken Antitrust Litig., 2023 WL 4303476,
24   at *8 (N.D. Ill. June 30, 2023) (admitting Elhauge’s testimony where he was “careful
25   not to make . . . legal conclusions”).2
26   2
       Plaintiffs also fail to disclose that in some of the cases they cite in their Footnote 1,
27   the court excluded portions of Mr. Elhauge’s testimony as unreliable. See, e.g., It’s
     My Party, Inc. v. Live Nation, Inc., 88 F. Supp. 3d 475, 484–88 (D. Md. 2015); Ruling
28   on Parties’ Motions in Limine at 24, Applied Med. Resources Corp. v. Ethicon Inc.,
     (continued…)
                                                    4
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 1           Consistent with prior rulings limiting Mr. Elhauge’s testimony, this Court
 2   should “preclude [him] from offering his opinion regarding the law that governs this
 3   case and federal anti-trust law.” Pinal Greek Grp v. Newmont Mining Corp., 352 F.
 4   Supp. 2d 1037, 1046 (D. Ariz. 2005) (excluding Mr. Elhauge’s testimony “based
 5   upon his interpretation of [case law] and the application of that interpretation to the
 6   facts of th[e] case”).
 7   II.     Mr. Elhauge’s Interpretation Of The Rule of Reason Will Mislead The
 8           Jury.

 9           Plaintiffs’ defense of Mr. Elhauge’s opinions about
10                                           confirms what Defendants demonstrated in their
11   opening motion: Mr. Elhauge intends to offer testimony that risks substantially
12   misleading the jury as to how to apply the applicable law to the facts of the case. Mot.
13   at 3–5. As Judge Selna has warned before about Mr. Elhauge’s proffered testimony,
14   “[i]t is not the role of an expert to rewrite the law,” especially “in the context of treble
15   damages,” where the “adoption of [a] burden shifting rule on the pronouncement of
16   an expert is particularly objectionable.” Ruling on Parties’ Motions in Limine at 24–
17   25, Applied Med., No. 03-1329, ECF No. 242 (excluding Mr. Elhauge’s opinion that
18   impermissibly shifted an antitrust plaintiff’s burden to the defendant).
19           Consistent with Judge Selna’s holding, Mr. Elhauge should not be permitted
20   to critique Dr. Bernheim for
21            , as Defendants bear no burden to do either. Although Mr. Elhauge does not
22   use the word “burden,” Plaintiffs admit that his critique of Dr. Bernheim is proffered
23   to “help . . . the jury’s fact-specific assessment of the restraints’ effect on
24   competition,” Opp. at 14, and that critique rests on an erroneous formulation of the
25   rule-of-reason’s burden-shifting framework.
26

27   No. 03-1329 (C.D. Cal. July 11, 2006), ECF No. 242 (excluding Mr. Elhauge’s
28   testimony in part because his theory, which found “no support in the peer-reviewed
     literature,” was not “consistent with the requirements of Daubert”).
                                                   5
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 1           Specifically, Mr. Elhauge’s opinion that Dr. Bernheim’s analysis
 2

 3                                       ECF No. 962-29, Elhauge Rep. ¶ 61, explicitly suggests to
 4   the jury that it is Defendants’ burden to show that the challenged conduct
 5                                                        rather than Plaintiffs’ burden to show that
 6   there is a “substantially less restrictive alternative” to achieve the proffered
 7   procompetitive rationales, see Epic Games, Inc. v. Apple, Inc., 67 F.4th 946, 990 (9th
 8   Cir. 2023). Such testimony is properly excluded. See Ruling on Parties’ Motions in
 9   Limine at 25, Applied Med., No. 03-1329, ECF No. 242.
10           Plaintiffs’ recitation of the rule of reason framework confirms Mr. Elhauge’s
11   error. See Opp. at 14. As Plaintiffs indicate, Defendants bear the burden only to
12   “show a procompetitive rationale.” Id. (quoting Epic Games, 67 F.4th at 985–86).
13   Defendants’ burden does not include any requirement to
14                     or to
15                                       ECF No. 962-29, Elhauge Rep. ¶ 51. Mr. Elhauge’s critique
16   that Dr. Bernheim’s analyses
17                                                 id., thus misstates the law.
18           Plaintiffs suggest that Defendants’ burden to provide evidence sufficient to
19   substantiate its procompetitive rationale is tantamount to a burden to quantify that
20   rationale. But that is not so. Courts “must give wide berth to [defendants’] business
21   judgments,” Nat’l Collegiate Athletic Ass’n v. Alston, 141 S. Ct. 2141, 2163 (2021),
22   because “antitrust law does not require businesses to use anything like the least
23   restrictive means of achieving legitimate business purposes,” id. at 2161. As a result,
24   it is a plaintiff’s burden to show that its proposed alternative means is “virtually as
25   effective in serving the defendant’s procompetitive purposes without significantly
26   increased cost.” Epic Games, 67 F.4th at 990 (cleaned up) (quoting O’Bannon v.
27   Nat’l Collegiate Athletic Ass’n, 802 F.3d 1049, 1074 (9th Cir. 2015) (quoting Cnty.
28   of Tuolumne v. Sonora Cmty. Hosp., 236 F.3d 1148, 1159 (9th Cir. 2001))). Epic
                                                          6
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 1   Games likewise highlights that some procompetitive rationales, such as
 2   compensation for intellectual property are “presumptively procompetitive,” see 67
 3   F.4th at 986 (emphasis added), and that even where there are “deficiencies” in a
 4   defendant’s proof of competitive benefits, it is still the plaintiff’s burden “to fashion
 5   a less-restrictive alternative calibrated to achieving that . . . goal,” id. Ninth Circuit
 6   precedent thus confirms that it is not enough for Plaintiffs (or their expert) merely to
 7   state that Defendants’ procompetitive rationale would not
 8               ECF No. 962-29, Elhauge Rep. ¶ 61. The burden instead is on “the plaintiff
 9   to demonstrate that the procompetitive efficiencies could be reasonably achieved”
10   through a “‘substantially less restrictive’ alternative.” Epic Games, 67 F.4th at 990
11   (citations omitted).
12           As a result, Mr. Elhauge’s testimony that Dr. Bernheim
13

14

15                                                               ECF No. 962-29, Elhauge Rep.
16   ¶¶ 14, 51, contravenes the law. This testimony is therefore irrelevant, Fed. R. Evid.
17   401, unhelpful to the jury, see Apple, Inc. v. Samsung Elecs. Co., Ltd., 2012 WL
18   2571332, at *7 (N.D. Cal. June 30, 2012), and likely to confuse the issues and mislead
19   the jury, see Fed. R. Evid. 403; Yerkes v. Ohio State Highway Patrol, 2023 WL
20   4633896, at *13 (S.D. Ohio July 20, 2023) (expert testimony that “flips th[e]
21   established burden of proof by [incorrectly] insinuating that [an opposing] expert has
22   an obligation . . . is unhelpful to the trier of fact” because it “is likely to confuse the
23   jury regarding the burden of proof”). It should be excluded.
24

25

26

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 1   Dated: February 9, 2024             Respectfully submitted,
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